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  Attorneys for Plaintiff Kathleen Dyer



                           UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                      EUGENE DIVISION


KATHLEEN DYER, an individual,                                     Case No. 6:16-cv-02261-AA

                      Plaintiff,                        JOINT MOTION TO DISMISS WITH
                                                                           PREJUDICE
       v.

SOUTHWEST OREGON COMMUNITY
COLLEGE, a public entity; and CODY
YEAGER, in her individual and official
capacities,

                      Defendants.

                              CONFERRAL CERTIFICATION

       I, Daniel Kalish, hereby certify that I conferred with Defendant’s counsel, Luke Reese,

before submitting this motion. Mr. Reese and I conferred via email on December 12, 2021

regarding the subject matter of the present motion.

                                                  s/ Daniel Kalish
                                                  Daniel Kalish, OSB No. 111529



1 -   JOINT MOTION FOR DISMISSAL
                                   HKM EMPLOYMENT ATTORNEYS LLP
                                         1607 NE 41ST AVENUE
                                         PORTLAND, OR 97232
                                            503-389-1130
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                                            MOTION

        The parties in the above-entitled action have resolved this matter. Accordingly, Plaintiff

Kathleen Dyer, by and through her counsel of record, Dan Kalish, and Defendants Southwest

Oregon Community College and Cody Yeager, by and through their counsel of record, Luke

Reese, hereby move the court for dismissal with prejudice, and without an award of costs and/or

attorneys’ fees to either party.

        DATED: December 10, 2021



 HKM EMPLOYMENT ATTORNEYS LLP                         GARRETT HEMANN ROBERTSON P.C.

 By: s/ Daniel Kalish                                 By: s/ Luke Reese
     Daniel Kalish, OSB No. 111529                        Luke Reese, OSB No. 076129
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 Attorneys for Plaintiff Kathleen Dyer
                                                     Attorneys for Defendants Southwest Oregon
                                                     Community College and Cody Yeager




2 -   JOINT MOTION FOR DISMISSAL
                                   HKM EMPLOYMENT ATTORNEYS LLP
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                                            503-389-1130
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                                CERTIFICATE OF SERVICE

       I hereby certify that I filed the foregoing JOINT MOTION FOR DISMISSAL with the

Clerk of the Court using the CM/ECF system, which will send electronic notification of such

filing to the following:

               Luke Reese, OSB No. 076129
               Email: lreese@ghrlawyers.com
               Garrett Hemann Robertson P.C.
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                       Attorneys for Defendants

       DATED: December 12, 2021.


                                            s/Daniel Kalish
                                            Daniel Kalish




CERTIFICATE OF SERVICE
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